Case 1:12-CV-00800-.]B-.]HR Document 213 Filed 06/07/18 Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT OF NEW MEXICO

PETE V. DOMENICI UNITED STATES CoURTHOuSE
333 LOMAS BLVD., N.W., SUITE 660
ALBUQUERQUE, NEW MEX;CO 87102

 

TELEPHONE: (505) 348-2280
FACS!MILE: (505) 348~2285

]AMES O. BROWNING

District ]udge
June 6, 2018
VIA CM/ECF
Randolph H. Barnhouse Peter Dykema

Christina S. West

Karl E. Johnson

Sarnuel D. Hough

Thomas E. Luebben , Jr.

Barnhouse, Keegan, Solimon & West, LLP
7424 4th Street NW

Los Ranchos de Albuquerque, NM 87107

Jacqueline M. Leonard

United States Department of Justice
601 D Street NW

Washington, DC 20004

Kristofor R. Swanson

Matthew Marinelii

United States I)epartment of Justiee
PO Box 7611

Washington, DC 20044

United States Department of Justice
601 D Street NW

Room 3148

Washington, DC 20004

Kenneth Rooney

United States Department of Justice
601 D St. NW

Room 3820

Washington, DC 20004

Kirk R. Allen

Stephen Bentley Waller

MiIier Stratvert P.A.

500 Marquette NW, Suite 1100
Albuquerque, NM 87102

Re: Pueblo of Jemez v. United States of Arnerica, No. CW12-0800 JB/]HR

Counsei of Record:

I Want to bring one matter to your attention I have, With my law clerks, reviewed the
Judicial Code of Conduct and do not believe this matter requires me to recuse myself l Want
everyone, however, to be fully informed about and comfortable With my participation in the case.

 

 

 

Case 1:12-cV-00800-.]B-.]HR Document 213 Filed 06/07/18 Page 2 of 2

Re: Pueblo of Jernez v. United States of America, No. CIV12~0800 JB/IHR
June 6, 2018
Page 2

From November, 1990, to Decernber, 1992, l and my fnrn represented Shearson Lehrnan
Brothers, Inc., in a suit that Jernez Pue'olo brought against Dean Witter R.eynolds, Inc., Scott R
Grady, Shearson Lehman Brothers, Inc. §"em§ Pueblo of Jernez v. Dean Witter Reynolds` Inc., No.
CIV 90-1062. The case ended in a settlement l have reviewed the Tenth Circuit opinion in your
court case, and my prior case does not appear related in any Way.

l believe that I can be fair and impartial l see no reason to recuse myself If anyone
objects, or has any questions, We can perhaps have a telephonic conference Please call my
Courtroom Deputy Clerk, Carol Bevel (505-348-2289). I have instructed Ms. Bevel not to tell

me Who may cali.
Sincerely,
w

5 ames O. Browning
United States District .`Fudge

 

Best regards

      

 

 

